                           DECLARA TION OF RAY STOEBNER

I, Ray Stoebner,   declare the following to be true and correct:

I.     My name is Ray Stoebner.      I am over the age of eighteen years, have never been convicted
       of a felony or crime of moral turpitude and am otherwise competent to make this affidavit. I
       am authorized to make this affidavit and have personal knowledge of the facts contained
       herein and those facts are true and correct.

2.     r am a Manager in the Rig Division ofC.C .Forbes, LLC. As a Manager, I am familiar with
       C.C. Forbes' business and its divisions.

3.     C.c. Forbes has a Rig Division and a Coiled Tubing Division. The Rig Division and Coiled
       Tubing Division are distinct business units with each division providing different services.
       The Rig Division and Coiled Tubing Division have separate locations, provide different
       services, use different equipment, have separate management, and each division hires and
       manages their own employees who have different skills.

4.     The Rig Division has rig yards located in West Texas, East Texas, South Texas and one in
       Pennsylvania. I am the Manager of two rig yards in the Rig Division. I manage the rig yards
       located in Giddings, Texas and Edna, Texas. Each of the other rig yards has a different
       Manager.

5.     The Coiled Tubing Division has one yard located         II1   Pleasanton, Texas with its own
       Manager.

6.     The Rig Division provides services on lower pressure wells. The Coiled Tubing Division
       provides services on higher pressure wells. The services are so different that seldom would a
       work over rig and coiled tubing rig be on the same well. In my 35 years of experience I can
       recall only one time when both rigs were at a well at the same time and it was due to a very
       unique difficulty on that particular well.

7.     The Rig Division provides work over rig services to oil companies. The Rig Division uses
       350-600 HP work over rigs with an average size derrick of 106' rated for 250,000 pounds. A
       copy of a CC Forbes' work over rig is attached. Depending on location, a work over rig
       crew of the Rig Division consists of between 4-6 employees, generally with a supervisor, a
       driller that operates the work over rig, a derrick man who works in the air racking the tubing
       in the board and two floor hands operating the tubing tongs, elevators and slips. Some
       customers require an extra man on the crew. Floor hands use the elevators to latch onto
       individual joints of pipe that are 30-31 feet in length; use heavy tongs to connect/disconnect
       the separate joints of pipe and slips to keep the pipe from dropping into the well bore.


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                                                                                          EXHIBIT

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8.     The Coiled Tubing Division employees do not operate work over rigs, do not work in the air
       on a derrick and do not have floor hands using elevators, tongs or slips. Rather it has
       employees who operate a completely different type of rig, a coil tubing rig that provides one
       continuous string of pipe that is up to 23,500 feet in length. This rig does not have a derrick.
9.     Some rig yards in the Rig Division provide additional services with additional specialized
       equipment and the necessary crew to operate the specialized equipment, including reverse
       units with a reverse unit operator, swab units with a swab unit operator and a power swivel
       unit with a power swivel operator. These services are distinct and use specialized
       equipment. The Edna and Giddings yards do not have this specialized equipment.

10.    The Coiled Tubing Division does not have any of this specialized equipment.

I I.   As a Manager in the Rig Division, I am familiar with the duties of a Manager for the Rig
       Division. The Managers are responsible for managing the rig yard under the Manager's
       supervision. The Manager, along with the supervisors of the rig yard, make the decisions
       relating to hiring and firing of employees at their rig yard, they discipline the employees, set
       the employees hours of work and schedules and make the other day to day decisions relating
       to the management of the rig yard, its employees and equipment. Rig crews do not have any
       set hours; we schedule their work based on business needs.

12.    The Managers and supervisors of the Rig Division are not involved with the management or
       supervision of the employees in the Coiled Tubing Division. We are not involved in
       decisions relating to hiring, firing or discipline of Coiled Tubing Division employees, we do
       not set their hours of work nor their schedules and we do not make any decisions relating to
       their management or supervision.

13.    Rig Division employees wear uniforms and use equipment with "CC Forbes" inscribed on it.

14.    The pay for employees of the Rig Division varies by job duties and location. Many of the
       employees at the rig yards do not and have not received any bonus; they are not paid a daily
       bonus. Some employees at some of the rig yards receive a bonus on some occasions based
       on the type of work performed or their actual performance. Some employees are not entitled
       to a bonus at any time.

15.    The Managers and supervisors in the Rig Division are not involved in setting the pay for
       employees of the Coiled Tubing Division. I do not how much employees in the Coiled
       Tubing Division are paid and I do not know whether they receive bonuses.

16.    The Rig Division does not provide "man camps" or apartments for its employees.

17.    The Rig Division does not share employees with the Coiled Tubing Division. Employees
       working for the Rig Division and the Coiled Tubing Division are not interchangeable. Iam
       not aware of any instances when employees of the Rig Division worked for the Coiled
       Tubing Division nor instances when employees of the Coiled Tubing Division worked for
       the Rig Division.
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18.   Below is a general description of the duties of the non-management/non-supervisory
      employees of the Rig Division:

      Clerk:     Clerks perform administrative tasks, such as data entry, filing,
      correspondence, maintaining certain records, and processing paper work, such as
      entering time, payroll records, processing status change, managing tickets and the
      purchase order process; retrieving data and ensuring all invoices, quotes, tickets, and
      purchase orders are received and processed.

      Floorhand: Conducts routine and pre-use equipment inspections of the Rig Division's
      equipment. Assists the work over rig driller during operations which require running
      tally (counting pipe) and using work over rig equipment (tongs, slips, elevators, winch
      line) during drilling operations. Assists work over rig driller with pulling and running
      pipe into and out of well and make and break connections. Assist work over rig driller in
      running casing into the well. Ensures fuel levels are accurately inventoried and
      maintained-replenishes fuel as needed. Performs routing maintenance on work over rig.
      Installs pit liner in pit prior to commencement of drilling operations, if applicable.
      Participates in housekeeping activities: cleaning, washing, and painting of work over rig
      and its support equipment.

      Derrick: Responsible for all work performed from the rod basket (high in the air on the
      derrick)and tubing board (transferring rods and tubing from the vertical racks to the
      elevators) on a work over rig; operates the elevators for the work over rig; assists in
      manually lifting the tubing from the rack onto the floor or vice versa; assists in the
      rigging up/down of the work over rig well service unit by lifting, operating rig up and rig
      down guy-wires, hydraulic jacks, pads/boards; works the floor operates the pump when
      necessary.

      Operator: Controls the work over rig carrier and derrick that pulls tubing in and out of
      the well bore; operates the rig and pump, is responsible to ensure rig maintenance and
      drives the rig.

      Driver: Transports the heavy equipment to and from location and provides other help as
      needed.

      Mechanic: Supervises and participates in the mechanical maintenance and repair of all
      engines and equipment, including equipment in yard and on location, rigs, auxiliary
      equipment, diesel engines, air compressors, pumps, draw works, blowout preventers,
      pickups; services and diagnoses faults, diverts and/or carries out necessary repairs.
      Liaises with maintenance engineer in planning and scheduling preventive maintenance
      program on rig division equipment. Implements and follows up on preventive
      maintenance program. Repairs and maintenance of; mechanic work on rigs and auxiliary
      equipment.

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      Welder:   Responsible for permanently joining metal pans using high heat application                   t(l

      form a permanent bond. May special izc in one of hundreds of different processes                ()j"


      welding to join metals together


      SW;lb Operator,    Reverse   Unit Operator.   and Power Swivel Operatur:      Operates   specialized
      equipment.


      Sw,lb ~-Iclper: Assists the swab operator:     helps keep rig and equipment     clean.

19.   I am aware    or  Texas Energy; it is a separate company from C.c. Forbes and prov ide"
      different services, such as vacuum trucks and fluids. I have no control over Tcxus I-::ncrgy pr
      its employees and Texas Energy docs not control my employees.

      I declare under penalty ofpcrjury under the laws of the united States ofAmerica          that
      the lorcgoing is true and correct. Executed this -1 _ day of November 2015.




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